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                            IN THE UNITED STATE DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

TATIANA HIRSU                                )
                                             )
               Plaintiff,                    )
                                             )                  6:18-CV-1343
                                                     Case No. _____________________
v.                                           )
                                             )
SOCIAL NETWORKING                            )
TECHNOLOGY, INC.,                            )
STUART BRUCK,                                )
DAVID M. MCNAMEE,                            )
KEVIN OWENS,                                 )
MASSIMO MESSINA, CARLOS                      )
AMEZCUA, and SHARON AMEZCUA                  )
          Defendants.                        )
                                             )

                                         COMPLAINT

       COMES NOW the Plaintiff, by and through the undersigned counsel, and for its cause of

action against Defendants, alleges and states as follows:

                                            PARTIES

       1.      Plaintiff is an individual residing in the State of New York.

       2.      Defendant Social Networking Technology, Inc. (“SNT”) is a Nevada corporation,

having its principal place of business in the State of Kansas. To Plaintiff’s best knowledge,

Defendant SNT may be served with process by service upon its registered agent, Becky

Herington, at 110 S. Main, Suite 1020, Wichita, KS 67202.

       3.      Defendant Stuart Bruck is an individual residing in the State of Kansas.

       4.      Defendant David M. McNamee is an individual residing in the State of Florida.

       5.      Defendant Kevin Owens is an individual residing in the States of Kansas.

       6.      Defendant Massimo Messina is an individual residing in the State of Kansas.

       7.      Defendant Carlos Amezcua is an individual residing in the State of Florida.
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        8.        Defendant Sharon Amezcua is an individual residing in the State of Florida.

        9.        Defendants Carlos and Sharon Amezcua are husband and wife and are hereinafter

referred to as “Defendants Amezcua.”

                                   JURISDICTION AND VENUE

        10.       Jurisdiction in this Court is proper in accordance with 28 U.S.C. § 1332.

        11.       The amount in controversy exceeds $75,000.00.

        12.       This Court has jurisdiction over Defendants Bruck, McNamee, Owens, Messina,

and Amezcua pursuant to K.S.A. § 60-308(b).

        13.       Venue lies in this District pursuant to 28 U.S.C. § 1391.

                         ALLEGATIONS COMMON TO ALL COUNTS

        14.       At all times material hereto, Defendants engaged in an unlawful scheme to raise

capital for SNT.

        15.       In or about December 2016, Defendants Amezcua, as an agent of SNT, solicited

Plaintiff to make an investment in SNT by purchasing shares of SNT’s common stock.

        16.       In or about December 2016, Defendants Amezcua met with Plaintiff in New York

City and personally requested that Plaintiff invest in SNT.

        17.       During the course of Defendants Amezcua’s solicitation, they represented to

Plaintiff that:

                  a. SNT created news stories using propriety artificial intelligence technology

                     that provided SNT an advantage against competitors, and that this technology

                     allowed them to produce a substantial amount of news story pages in real

                     time;

                  b. SNT had sufficient capital and cash flow from generating advertising revenue

                     with publishers to continue to operate its business, and was securing

                     additional investment solely for growth;

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                 c. Defendants Amezcua had personally invested in SNT;

                 d. The stock price of SNT would rise and, as a result, Plaintiff had to act quickly;

                     and

                 e. Plaintiff was guaranteed a return on her investment.

       18.       Defendants Amezcua invited Plaintiff to attend a formal presentation concerning

investment prospects in SNT, which Plaintiff did in fact attend in December 2016. Upon

information and belief, the individual Defendants, or some of them, personally attended this

meeting and solicited investments into SNT by making the same representations that Amezcua

had made privately to Plaintiff.

       19.       Plaintiff relied on the representations of Defendants in making her decision to

invest in SNT.

       20.       Defendants’ representations were material to Plaintiff’s decision to invest in SNT.

       21.       On December 23, 2016, Plaintiff wired $400,000.00 to SNT. Copies of Plaintiff’s

wire confirmations are attached hereto as Exhibit A.

       22.       After receiving Plaintiff’s funds, SNT provided Plaintiff with a stock certificate.

       23.       After purchasing SNT stock, Plaintiff discovered that:

                 a. Defendants Amezcua had not personally invested in SNT;

                 b. SNT did not have sufficient cash flow from generating advertising revenue

                     with publishers to operate its business; and

                 c. SNT did not have artificial intelligence technology that provided SNT an

                     advantage against competitors.

       24.       Defendants also failed to disclose that SNT was paying Defendants Amezcua, an

unregistered broker, transaction-based fees for soliciting investors, including the investment

made by Plaintiff.



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       25.       If Plaintiff had known of the above-described misrepresentations and omissions,

she would not have invested in SNT.

                                       COUNT I
                          RESCISSION PURSUANT TO 15 U.S.C. § 77l

       26.       Plaintiff incorporates the allegations set forth in paragraphs 1–25 as if fully set

forth herein.

       27.       This is an action for rescission pursuant to 15 U.S.C. § 77l(a)(2).

       28.       Defendants either knew of the misrepresentations or omissions or in the exercise

of reasonable care could have known of such misrepresentations or omissions made to Plaintiff.

       29.       Defendants made such misrepresentations or omissions to induce Plaintiff to

invest in SNT.

       30.       Plaintiff justifiably relied to her detriment on such misrepresentations and

omissions and has been damaged as a result thereof.

       WHEREFORE, for the claim described in Count I above, Plaintiff prays for a money

judgment against Defendants in the amount of $400,000.00, plus interest thereon, costs, and for

such other and further relief as the Court deems just and equitable.

                                      COUNT II
                         RESCISSION PURSUANT TO 15 U.S.C. § 77o

       31.       Plaintiff incorporates the allegations set forth in paragraphs 1–30 as if fully set

forth herein.

       32.       This is an action for rescission pursuant to 15 U.S.C. § 77o.

       33.       As set forth in Count I above, SNT is the primary violator of 15 U.S.C. § 77l.

       34.       At the time of such violation by SNT, Defendants Bruck, McNamee, Owens,

Messina, and Amezcua were in possession, directly or indirectly, of the power to direct or the

cause the direction of SNT, whether through stock ownership, agency, or otherwise, and thereby,

are jointly and severally liable with SNT for violations of 15 U.S.C. § 77l.
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       35.       Defendants Bruck, McNamee, Owens, Messina, and Amezcua either had

knowledge of or reasonable grounds to believe in the existence of fact by reason of which the

liability of SNT exists.

       36.       Plaintiff has been damaged as a result of the actions of Defendants SNT, Bruck,

McNamee, Owens, Messina, and Amezcua.

       WHEREFORE, for the claim described in Count II above, Plaintiff prays for a money

judgment against Defendants Bruck, McNamee, Owens, Messina, and Amezcua in the amount

of $400,000.00, plus interest thereon, costs, and for such other and further relief as the Court

deems just and equitable.

                                    COUNT III
                SALE OF SECURITIES IN VIOLATION OF K.S.A. § 17-12a509

       37.       Plaintiff incorporates the allegations set forth in paragraphs 1–36 as if fully set

forth herein.

       38.       This is an action for rescission for the sale securities in violation of K.S.A. § 17-

12a509(b).

       39.       SNT sold securities to Plaintiff by means of an untrue statement of a material fact

or an omission to state a material fact necessary in order to make a statement made, in light of

the circumstances under which it is made, not misleading in violation on of K.S.A. § 17-

12a509(b).

       40.       Defendants either knew of the misrepresentations or omissions or in the exercise

of reasonable care could have known of such misrepresentations or omissions made to Plaintiff.

       41.       Defendants made such misrepresentations or omissions to induce Plaintiff to

invest in SNT.




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       42.       Defendants Bruck, McNamee, Owens, Messina, and Amezcua directly or

indirectly controlled SNT and are jointly and severally liable for SNT’s violations of K.S.A. §17-

12a509(b) pursuant to K.S.A. § 17-12a509(g).

       43.       Plaintiff is entitled to recover the $400,000.00 she paid for the securities, and

interest from the date of the purchase at the rate provided by K.S.A. § 16-204, and amendments

thereto, costs, and reasonable attorneys’ fees determined by the Court.

       WHEREFORE, for the claim described in Count III above, Plaintiff prays for a money

judgment against Defendants SNT, Bruck, McNamee, Owens, Messina, and Amezcua in the

amount of $400,000.00, plus interest thereon, costs, reasonable attorneys’ fees, and for such

other and further relief as the Court deems just and equitable.



                                      COUNT IV
                            NEGLIGENT MISREPRESENTATION

       44.       Plaintiff incorporates the allegations set forth in paragraphs 1–43 as if fully set

forth herein.

       45.       SNT sold securities to Plaintiff by means of an untrue statement of a material fact

or an omission to state a material fact necessary in order to make a statement made, in light of

the circumstances under which it is made, not misleading.

       46.       Defendants either knew of the misrepresentations or omissions or in the exercise

of reasonable care could have known of such misrepresentations or omissions made to Plaintiff.

       47.       Defendants made such misrepresentations or omissions to induce Plaintiff to

invest in SNT.

       48.       Plaintiff justifiably relied to her detriment on such misrepresentations and

omissions and has been damaged as a result thereof.




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       WHEREFORE, for the claim described in Count IV above, Plaintiff prays for a money

judgment against Defendants in the amount of $400,000.00, plus interest thereon, costs and for

such other and further relief as the Court deems just and equitable.



                                DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on the allegations contained in this Complaint.


                                              Respectfully submitted,

                                              ADAMS JONES LAW FIRM, P.A.

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